       Case 2:10-cr-00255-TLN Document 94 Filed 07/24/14 Page 1 of 2


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     Attorneys for Defendant
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7

8
                     IN THE UNITED STATES DISTRICT COURT FOR THE
9

10                              EASTERN DISTRICT OF CALIFORNIA

11

12
     UNITED STATES OF AMERICA,                                  CASE NO: 2:10-CR-0255 TLN
13
                                                                STIPULATION AND
14                 Plaintiff,                                   ORDER MODIFYING TERMS OF
15                                                              PRETRIAL RELEASE TO PERMIT
                    vs.                                         OUT-OF-STATE TRAVEL FOR
16                                                              EMPLOYMENT
     FRENCH GULCH NEVADA MINING
17
     CORPORATION, BULLION RIVER
18   GOLD CORPORATION, PETER
     MARTIN KUHN, and KIEDOCK KIM,
19

20             Defendants.
     _____________________________/
21

22         The defendant, KIEDOCK KIM, through his counsel of record, and plaintiff
23   United States of America, through its counsel, Assistant United States Attorney
24   Samuel Wong, agree and stipulate that the condition of pre-trial release restricting
25   the defendant’s travel to the Eastern and Northern Districts of California shall be
26   modified as follows: The defendant shall be permitted to travel to and from
27   Boise, Idaho, commencing on August 1, 2014 and returning on August 3, 2014,
28   for a work-related meeting with Knife River Construction of Boise, Idaho.
                                                              1
         Stipulation & [Proposed] Order Modifying Terms of Pretrial Release to Permit Out-of-State Travel for Employment
       Case 2:10-cr-00255-TLN Document 94 Filed 07/24/14 Page 2 of 2


1    Dated: July 23, 2014                   Respectfully submitted,
2
                                            SEGAL & ASSOCIATES, PC
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4                                     By:   /s/ Malcolm Segal
5                                           MALCOLM SEGAL
                                            Attorneys for Defendant
6                                           KIEDOCK KIM
7

8                                     By:   /s/ Richard Bender________________
     Dated: July 23, 2014                   RICHARD BENDER
9                                           Assistant United States Attorney
10                                          (By permission)

11
                                            ORDER
12

13         GOOD CAUSE APPEARING, and pursuant to the stipulation of the parties,
14   the condition of pre-trial release restricting the defendant’s travel to the Eastern
15
     and Northern Districts of California is modified as follows: The defendant is
16
     permitted to travel to and from Boise, Idaho, commencing on August 1, 2014, and
17

18   returning on August 3, 2014.
19         IT IS SO ORDERED.
20
     Dated: July 24, 2014
21

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